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     99 Cents Only Stores, LLC
8
                                     UNITED STATES DISTRICT COURT
9
                                             DISTRICT OF NEVADA
10

11   Sarah Chase Vivian-Ochs,                                  Case No.: 3:20-cv-446
12                             Plaintiff,
                                                               Defendants’ Removal Petition
13       v.
14   Arturo Casa Hernandez, a California resident; 99
     Cents Only Stores, LLC, dba 99￠Only Stores, a
15   California limited liability company, Does 1 through
     10, inclusive,
16
                               Defendants.
17

18            Defendants petition to remove this case to the United States District Court for the District
19   of Nevada from the Second Judicial District Court for the State of Nevada. This petition for
20   removal is signed per Rule 11.
21            Removal is appropriate per 28 U.S.C. § 1441 because diversity jurisdiction is present per
22   28 U.S.C. 1332. Plaintiff alleges she is a resident of Nevada.1 Mr. Hernandez is a Californian.2
23   99 Cents Only Stores, LLC’s sole member is Number Holdings, Inc, which is a Delaware
24   corporation with its principal place of business in California.
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28   1
         ECF No. 1-2 at ¶ 1.
     2
         Id. at ¶ 2.
          Case 3:20-cv-00446-RCJ-CLB Document 1 Filed 07/30/20 Page 2 of 2




1             The amount in controversy is also satisfied. Before suit was filed Plaintiff served a

2    settlement demand seeking $385,000.00.3 This was based, in part, upon past medical expenses of

3    $123,512.97. Removal occurred within 30 days of service on July 1, 2020.

4             Based upon this, diversity jurisdiction is present and timely invoked.

5             DATED this 30th day of July, 2020.

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8
                                           BY:     /s/ Michael P. Lowry
9                                                  MICHAEL P. LOWRY, ESQ.
                                                   Nevada Bar No. 10666
10                                                 VIRGINIA T. TOMOVA, ESQ.
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                                                   Attorneys for Arturo C. Hernandez;
13                                                 99 Cents Only Stores, LLC
14                                                 Certificate of Service
15           Pursuant to FRCP 5, I certify that I am an employee of Wilson Elser Moskowitz Edelman &
16   Dicker LLP, and that on July 30, 2020, I served Defendants’ Removal Petition as follows:
17                  by placing same to be deposited for mailing in the United States Mail, in a sealed
                    envelope upon which first class postage was prepaid in Las Vegas, Nevada;
18
                    via electronic means by operation of the Court’s electronic filing system, upon each
19                  party in this case who is registered as an electronic case filing user with the Clerk;
20
         John D. Moore
21       Silver State Law, LLC
         190 W. Huffaker Lane, Suite 401
22       Reno, NV 89511
         Attorneys for Sarah Chase Vivian-Ochs
23

24                                        BY:    /s/ Michael Lowry
                                                 An Employee of
25

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28   3
         ECF No. 1-3 at 3.
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